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              12/17/2019

              Dated                                           Alexander Krutz on behalf of himself,
                                                              the Collective Class Members, and the
                                                              Rule 23 Class Members




              Dated                                           Albany International Corp.


                                                              By:


                                                              Its:




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